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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

GEOFFREY CALHOUN, et al.                       )
                                               )
                   Plaintiffs,                 )
                                               )
      v.                                       ) Case No. 1:09-CV-3286-TCB
                                               )
RICHARD PENNINGTON, et al.                     )
                                               )
                   Defendants.                 )
                                               )

 JOINT MOTION FOR APPROVAL OF PROPOSED CONSENT ORDER
          AND APPOINTMENT OF SPECIAL MASTER

      Pursuant to this Court’s mediation orders (Dkts. 541 and 548), the Parties

hereby report that they have successfully completed mediation before Joe D. Whitley

and respectfully request this Court’s entry of the proposed Order agreed upon by the

Parties and attached hereto as Exhibit A. The Parties are authorized to state that the

mediator supports the entry of the attached proposed Order and agrees to serve as

Special Master in accordance with its terms. In support of this joint motion, the

Parties show as follows:

                                          1.

      This Court’s March 6, 2024 Order directed the “proceedings in this case [be]

stayed pending completion of [ ] mediation, including consideration of the pending

motion [496] for sanctions,” and appointed Joe D. Whitley as mediator. Dkt. 541.
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The Court required that the Parties “inform the Court of the mediation outcome

within seven days of the mediation’s conclusion.” Id. The Parties thereafter

“requested that the mediation be expanded to permit them to address other issues

between the Parties regarding this action,” which this Court ordered on April 11,

2024. Dkt. 548.

                                          2.

      Following extensive in-person, virtual, and telephonic negotiations and with

the assistance of Mr. Whitley and his team, the Parties have agreed upon the attached

proposed Order in resolution of all currently outstanding disputes between them.

Upon entry, the proposed Order will supersede all orders previously entered by the

Court in this action, including without limitation this Court’s November 29, 2018

Order (Dkt. 434) and October 3, 2023 Order (Dkt. 512), except that all obligations

set forth in any previous order obligating the City to pay outstanding attorneys’ fees

accrued prior to the entry of the proposed Order shall remain in place.

                                          3.

      Pursuant to Section XII of the proposed Order and Fed. R. Civ. P. 53, the

Parties further respectfully request that the Court appoint Joe D. Whitley as Special

Master to serve in accordance with the terms of the proposed Order.

      WHEREFORE, the Parties respectfully request that this Court grant this joint

motion and enter the proposed Order attached hereto as Exhibit A and an order

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appointing Joe D. Whitley as Special Master in accordance with the terms of the

proposed Order.



      Respectfully submitted, this 25th day of September, 2024.



/s/ Daniel J. Grossman                     /s/ Thomas E. Reilly
Daniel J. Grossman, GA Bar No. 313815      Thomas E. Reilly, GA Bar No. 600195
LAW OFFICE OF DANIEL J.                    W. Alex Smith, GA Bar No. 532647
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                            FONT CERTIFICATION

      Pursuant to Local Rule 7.1(D), the undersigned counsel certifies that this

filing complies with the type and font requirements set forth in Local Rule 5.1.

      This 25th day of September, 2024.

                                              /s/ Thomas E. Reilly
                                              Thomas E. Reilly




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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing Joint Motion For

Approval Of Proposed Consent Order And Appointment Of Special Master was

electronically filed with the Clerk of Court using the CM/ECF system, which serves

notification of such filing to all CM/ECF participants.

      This 25th day of September, 2024.

                                              /s/ Thomas E. Reilly
                                              Thomas E. Reilly




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